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 4
     Special counsel for David K. Gottlieb, Chapter 7 Trustee
 5

 6                             UNITED STATES BANKRUPTCY COURT

 7            CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION

 8   In re:                                               Case No.: 1:18-BK-10098-MB
                                                          Chapter 7
 9   PENTHOUSE GLOBAL MEDIA, INC.,
                                                          Jointly Administered with Cases Nos.:
10                                 Debtor.                1:18-bk-10099-MB; 1:18-bk-10101-MB;
     _____________________________________                1:18-bk-10102-MB; 1:18-bk-10103-MB;
11        Affects All Debtors                             1:18-bk-10104-MB; 1:18-bk-10105-MB;
          Affects Penthouse Global Broadcasting,          1:18-bk-10106-MB; 1:18-bk-10107-MB;
12   Inc.                                                 1:18-bk-10108-MB; 1:18-bk-10109-MB;
          Affects Penthouse Global Licensing, Inc.        1:18-bk-10110-MB; 1:18-bk-10111-MB;
13        Affects Penthouse Global Digital, Inc.          1:18-bk-10112-MB; 1:18-bk-10113-MB
          Affects Penthouse Global Publishing, Inc.
14        Affects GMI Online Ventures, Ltd.               NOTICE OF MOTION AND MOTION OF
          Affects Penthouse Digital Media                 TRUSTEE FOR ORDER DISALLOWING
15   Productions, Inc.                                    REQUESTS FOR PAYMENT OF
          Affects Tan Door Media, Inc.
16        Affects Penthouse Images Acquisitions,          ADMINISTRATIVE CLAIM NO. 69-1 IN
     Ltd.                                                 THE SUM OF $5,382.98 AND
17        Affects Pure Entertainment                      ADMINISTRATIVE CLAIM NO. 70-1 IN
     Telecommunications, Inc.                             THE SUM OF $5,810.98 WHICH WERE
18        Affects XVHUB Group, Inc.                       BOTH FILED BY DIGITAL MEDIA
          Affects General Media Communications,           CONSULTANTS, LLC; MEMORANDUM
19   Inc.                                                 OF POINTS AND AUTHORITIES;
          Affects General Media Entertainment, Inc.
20        Affects Danni Ashe, Inc.                        DECLARATION OF DAVID K. GOTTLIEB
          Affects Streamray Studios, Inc.                 IN SUPPORT THEREOF
21
                                                      Date: October 27, 2021
22                                                    Time: 11:00 am
23                                                    Place: Courtroom 303
                                                             21041 Burbank Blvd.
24                                                           Woodland Hills, CA 91367
                                                      Judge: Hon. Martin R. Barash
25

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 1            PLEASE TAKE NOTICE that David K. Gottlieb, solely in his capacity as the duly

 2   appointed, authorized and acting Chapter 7 Trustee (the “Trustee”) of Penthouse Global Media, Inc.

 3   and its debtor affiliates (collectively, the “Debtors”) hereby moves (the “Motion”) the Court for an

 4   order disallowing the Requests for Payment of Administrative Claim No. 69-1 In The Sum Of

 5   $5,382.98 And Administrative Claim No. 70-1 In The Sum Of $5,810.98 Which Were Both Filed By

 6   Digital Media Consultants, LLC (collectively, the “Claims”).1

 7            The grounds for the Motion are that the Claims arose prepetition and may be allowable as

 8   prepetition unsecured claims, but neither is allowable as an administrative expense. The Claimant

 9   did not attach a copy of the agreement which gave rise to the claims. From the context of the Claim

10   descriptions and the invoices attached to the Claims, it appears that the Claims each arose from a

11   prepetition agency commission agreement between the Claimant and Penthouse Digital Media

12   Productions, Inc. (“PDMPI”) whereby the Claimant would earn a monthly commission once PDMPI

13   received payment from the designated customer(s).2 The Claimant asserts that the Claims are

14   allowable administrative expenses because the commissions were not calculable or owing until

15   payment was actually received by the Debtors which, as to the invoices supporting Claim Nos. 69

16   and 70 did not occur until after January 11, 2018 (the “Petition Date”) when each of these cases was

17   filed. However, a “claim”, as defined in 11 U.S.C. § 101(5), arises when the claimant’s right to a

18   payment first arises, regardless of whether that right is then contingent, unliquidated, or unmatured.

19   As to these Claims, that right was fixed upon the execution of the agency commission agreement and

20   the customer designation, both of which appeared to have occurred prepetition. The happenstance

21   that certain commission payments did not become calculable or due until after the Petition Date does

22   not transmute a prepetition unsecured claim to a right to obtain an allowable administrative expense.

23   Each of the Claims must be disallowed as an administrative expense.

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       When individually referenced, Administrative Claim No. 69-1 shall hereinafter be referred to as “Claim No. 69” and
26   Administrative Claim No. 70-1 shall hereinafter be referred to as “Claim No. 70”.
     2
       Each invoice reflects that it is applicable to a specific month and that the sum reflected in the invoice is due as an
27   “agent fee” on account of “Direct TV commission – 10%”. Claim #69 attaches invoices for commissions earned for the
     months of March through June 2018 which were after these cases were initiated on January 11, 2018 (the “Petition
28   Date”). Claim #70 includes invoices for October 2017 through December 2017 and the Claimant asserts that the sums
     due owed are allowable as a priority unsecured claim under 11 U.S.C. § 507(a)(4).
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 1          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion has been

 2   scheduled for October 27, 2021 at 11:00 a.m. before the Honorable Martin Barash, United States

 3   Bankruptcy Judge, in Courtroom 303, 20141 Burbank Boulevard, Woodland Hills, California 91367.

 4   Pursuant to the SUPPLEMENTAL NOTICE OF HEARING TO BE HELD REMOTELY USING

 5   ZOOMGOV AUDIO AND VIDEO, the Court will conduct the hearing remotely, using ZoomGov

 6   audio and video technology. Individuals will not be permitted access to the courtroom. The

 7   following is the unique ZoomGov connection information for the above-referenced hearing:

 8   Video/audio web address:       https://cacb.zoomgov.com/j/1600150150
 9   ZoomGov meeting number: 160 015 0150
10   Password: 602527
11   Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828 7666
12          PLEASE TAKE FURTHER NOTICE that the Motion has been served upon the claimant

13   listed above and all parties entitled thereto and is based upon the supporting Memorandum of Points

14   and Authorities and Declaration of David K. Gottlieb, the statements, arguments and representations

15   of counsel who appear at the hearing on the Motion, the files and records in the above-captioned

16   cases, any evidence properly before the court prior to or at the hearing regarding the Motion and all

17   matters of which the court may properly take judicial notice.

18          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

19   responses to the Motion must be filed with the Court and served upon the Trustee’s counsel at the

20   address in the upper left-hand corner of this Motion no later than fourteen (14) days prior to the

21   hearing date. Responses must contain a written statement of all reasons the Motion is opposed and

22   must include declarations and copies of all documentary evidence on which the responding party

23   intends to rely. Responses must be filed either electronically or at the following location:

24                                      United States Bankruptcy Court
                                             21041 Burbank Blvd.
25                                       Woodland Hills, CA 91367
26          PLEASE TAKE FURTHER NOTICE that if a response is not timely filed and served, the

27   Trustee will request that the court grant the relief requested in the Motion without further notice or

28   hearing.


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 1           PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

 2   Trustee’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it

 3   determines that the Motion involves disputed factual issues or will require presentation of substantial

 4   evidence or argument.

 5           WHEREFORE, the Trustee respectfully requests that the Court enter an order (a) granting

 6   the Motion; (b) disallowing each of the Claims as an administrative expense of the Debtors’ estates;

 7   and (c) granting the Trustee such other and further relief as may appropriate under the

 8   circumstances.

 9

10   Dated: September 29, 2021                       LAW OFFICES OF BRADLEY E. BROOK, APC

11                                              By: Bradley E. Brook __________________________
12                                                  Bradley E. Brook, Esq.
                                                    Special counsel for David K. Gottlieb, Chapter 7
13                                                  Trustee of Penthouse Global Media, Inc. and its
                                                    affiliated debtor entities
14
     Submitted by:
15   Linda F. Cantor (CA Bar No. 153762)
     PACHULSKI STANG ZIEHL & JONES LLP
16   10100 Santa Monica Blvd., 13th Floor
     Los Angeles, CA 90067
17   Telephone: 310/277-6910
     Facsimile: 310/201-0760
18   E-mail: lcantor@pszjlaw.com
19
     By: /s/ Linda F. Cantor____________________
20      Linda F. Cantor
        Counsel for David K. Gottlieb, Chapter 7 Trustee
21      of Penthouse Global Media, Inc. and its debtor affiliates
22

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     BACKGROUND.

 3          A.     The Debtors’ Bankruptcy Cases, Jurisdiction and Venue.

 4          On the Petition Date of January 11, 2018, the Debtors each filed voluntary petitions for relief

 5   under chapter 11 of the Bankruptcy Code. The Debtors’ Cases are being jointly administered under

 6   lead case number 1:18-bk-10098-MB [Docket No. 17]. On March 2, 2018, the Court entered an

 7   order directing the appointment of a chapter 11 Trustee [Docket No. 231]. On March 6, 2018, the

 8   United States Trustee filed a Notice of Appointment of Chapter 11 Trustee [Docket No. 236]. On

 9   that same day, the Court entered an order approving the appointment of David K. Gottlieb as Trustee

10   [Docket No. 239].

11          On January 31, 2019, the Trustee filed a Notice of Motion and Motion for Order Converting

12   Cases to Chapter 7 [Docket No. 790] (the “Conversion Motion”). The Bankruptcy Court entered its

13   Order converting the Cases to Cases under chapter 7 of the Bankruptcy Code [Docket No. 810] (the

14   “Conversion Order”) on March 12, 2019, and the Office of the United States Trustee appointed

15   David K. Gottlieb as the chapter 7 trustee in the Cases [Docket No. 812].

16          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

17   core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this matter is appropriate pursuant to

18   28 U.S.C. §§ 1408 and 1409.

19          B.     The Debtors Sold All Of Their Assets.

20          On April 14, 2018, the Trustee filed a Notice of Motion and Motion for Order (A) Approving

21   Sale of Substantially All Assets Free and Clear of All Liens, Claims, Encumbrances and Interests;

22   (B) Scheduling Auction and Sale Hearing; (C) Approving Sale Procedures and Notice of Sale; and

23   (D) Granting Related Relief [Docket No. 327] (“Sale Motion”).

24          On May 14, 2018, the Trustee filed a Notice of Motion and Motion for Order Authorizing

25   Trustee to (A) Assume Unexpired Leases and Executory Contracts; (B) Establish Cure Amounts; (C)

26   Assign Unexpired Leases and Executory Contracts; and (D) Grant Related Relief Pursuant to

27   Section 365(A) of the Bankruptcy Code [Docket No. 469] (the “Assumption Motion”). Attached as

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 1   Exhibit “A” to the Assumption Motion is a schedule of executory contracts and leases which may

 2   have been eligible to be designated by the successful bidder for the Debtors’ assets for the Trustee to

 3   assume and assign to it (the “Schedule”). The Schedule sets forth the amount, if any, which was

 4   owed to the counterparty and that sum included any incurred but unpaid post-petition obligations

 5   (the “Cure Amount”) for which the designating party would become solely liable to pay for each

 6   designated contract. The Claimant’s contract upon which the Claims appears is included in the

 7   Schedule along with a Cure Amount consisting of all amounts owed both pre-petition and post-

 8   petition. The Claimant was served with the Assumption Motion and did not file an objection to the

 9   proposed Cure Amount or any other pleading in connection with the Assumption Motion.

10          On June 14, 2018, the Court entered its Order (A) Approving Sale Of Substantially All Assets

11   Free And Clear Of All Liens, Claims, Encumbrances And Interests To Successful Bidder; (B)

12   Approving The Estates’ Assumption And Assignment Of Certain Unexpired Leases And Executory

13   Contracts; And (C) Granting Related Relief [Docket No. 577] (the “Sale Order”). Among other

14   things, the Sale Order approved WCGZ Ltd. as the successful bidder (the “Buyer”) and authorized

15   the assumption and assignment to it of certain executory contracts and leases (collectively, the

16   “Assumed Contracts”).

17          The Buyer subsequently identified to the Trustee the specific executory contracts and leases

18   which would constitute the Assumed Contracts. On June 25, 2018, the Trustee filed a Notice pf

19   Rejection of Certain Executory Contracts and Deadline to File Proof of Claim Based On Rejection

20   Of Such Executory Contracts (the “Notice Of Assumed Contracts”) [Docket No. 596] designating

21   those leases and executory contracts which the Buyer agreed to have be assumed and assigned. The

22   Claimant’s contract was not designated, was not assumed and assigned, and was thus rejected. The

23   Claimant was served with the Notice of Assumed Contracts.

24          C.      The Administrative Claims Bar Date And The Claims.

25          On October 22, 2018, the Trustee filed and served the Notice Of Deadline For Filing

26   Requests For Payment Of Chapter 11 Administrative Claims That Arose Between January 11, 2018

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 1   And June 15, 2018 [Docket No. 714] (the “Administrative Claim Bar Date Notice”), setting

 2   November 21, 2018 as the bar date for filing chapter 11 administrative claims (the “Bar Date”).

 3            On or about October 22, 2018, the Claimant filed the Claims which were assigned claim

 4   numbers 69-1 and 70-1, respectively. Attached as Exhibit “1” hereto is Claim No. 69 which is in the

 5   amount of $5,382.98 and to which the Claimant’s invoices for the months of March 2018, April

 6   2018, May 2018 and June 2018 are attached. Attached as Exhibit “2” hereto is Claim No. 70 which

 7   is in the amount of $5,810.98 and to which Claimant’s invoices for the months of October 2017,

 8   November 2017 and December 2017 are attached and reflects that the amount due thereon should be

 9   allowed as an unsecured priority claim under 11 U.S.C. § 507(a)(4). Claim No. 70 describes the

10   amount due as being owed on a “cash” basis rather than an accrual basis because “Payment is based

11   on date PDMPI received revenue. This amount became due and payable [in] March [and] April

12   2018.” 3

13            Neither of the Claims attaches a copy of any underlying agreement that purports to give rise

14   to them. From the context of the invoices attached to the Claims and their descriptions, it appears

15   that the Claimant and PDMPI entered a commission agreement prepetition and that the Claimant

16   secured the customer then thereby giving it a right to receive monthly commissions. The commission

17   payments were calculable and due when PDMPI received payment from the customer. assuming the

18   facts to be materially accurate and complete, the Trustee moves this Court for the disallowance of

19   the Claims as administrative expenses for the reasons set forth herein. To the extent the facts are

20   materially different than those assumed to be correct here, then the Trustee reserves all of his rights

21   to further respond or to modify, amend or supplement this Motion.

22   II.      ARGUMENT.

23            A.       The Claimant Has the Burden to Prove the Validity of its Administrative

24   Expense Claim.

25            The allowance of an administrative expense claim is codified in section 503(b) of the

26
     3
27    Other than the invoices themselves, the Claimant offers no additional evidence to satisfy all of the terms of that
     subsection of the Code. However, since this case is administratively insolvent, there will not be a distribution made to
28   holders of priority unsecured claims.
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 1   Bankruptcy Code, which states in relevant part:

 2          After notice and a hearing, there shall be allowed administrative expenses . . . including –

 3   (1)(A) the actual, necessary costs and expenses of preserving the estate . . . 11 U.S.C. § 503

 4   (b)(1)(A). Unlike general unsecured proofs of claims, administrative claims lack presumptive

 5   validity. In re Blanchard, 547 B.R. 347, 352 (Bankr.C.D. Cal. 2016). “The burden of proving an

 6   administrative expense claim is on the claimant.” Microsoft Corp. v. DAK Indus. (In re DAK

 7   Indus.), 66 F.3d, 1091,1094 (9th Cir. 1995); see also Einstein/Noah Bagel Corp. v. Smith (In re BCE

 8   West LP), 319 F.3d 1166, 1173 (9th Cir. 2003). “The administrative expense applicant must prove

 9   entitlement to the requested reimbursement by a preponderance of the evidence.” Gull Indus. v. John

10   Mitchell, Inc. (In re Hanna), 168 B.R. 386, 388 (9th Cir. BAP 1994). The Claimant has not met its

11   burden as to either of the Claims. They both should be disallowed as an administrative expense.

12          B.      The Claims Arose Prepetition And The Claimant Is Not Entitled To Their

13   Allowance As An Administrative Expense.

14          As set forth in 11 U.S.C. § 503(1)(A)(i), the plain meaning of the phrase “...commissions for

15   services rendered after the commencement of the case” unambiguously requires that the services ‘(1)

16   arose from a transaction with the debtor-in-possession as opposed to the preceding entity (or,

17   alternatively, that the claimant gave consideration to the debtor-in-possession); and (2) directly and

18   substantially benefitted the estate.’” Blanchard, 547 B.R. at 352 quoting In re DAK Indus., Inc., 66

19   F.3d at 1094. “[F]ederal law determines when a claim arises under the Bankruptcy Code.” In re

20   SNTL Corp. (“STNL Corp”), 571 F.3d 826, 839 (9th Cir. 2009).

21          A claim exists “whenever a party has a right to payment, whether or not reduced to judgment,

22   liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

23   equitable, secured or unsecured.” 11 U.S.C. § 105(A). The Bankruptcy Code utilizes this

24   exceptionally broad definition of the term “claim” in order to ensure that “all legal obligations of the

25   debtor, no matter how remote or contingent, will be able to be dealt with in the bankruptcy case.” Id.

26   at 838 quoting Cal. Dep't of Health Servs. v. Jensen (“In re Jensen”), 995 F.2d 925, 929-30 (9th Cir.

27   1993)); In re Christian Life Ctr., 821 F.2d 1370, 1375 (9th Cir. 1987) (Congress intended to provide

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 1   “‘the broadest possible definition’ of claims so that ‘all legal obligations of the debtor, no matter

 2   how remote or contingent, will be able to be dealt with in the bankruptcy case.’” (quoting S. Rep.

 3   No. 95-989, at 22 (1978), as reprinted in 1978 U.S.C.C.A.N. 5787, 5808)).

 4          To determine when a claim arises, the Ninth Circuit ordinarily employs the “fair

 5   contemplation” test. SNTL Corp., 571 F.3d at 839; In re Jensen, 995 F.2d at 930. A claim arises

 6   when the claimant “can fairly or reasonably contemplate the claim's existence even if a cause of

 7   action has not yet accrued under nonbankruptcy law.” SNTL Corp., 571 F.3d at 839 citing Cool Fuel,

 8   Inc. v. Bd. of Equalization, 210 F.3d 999, 1007 (9th Cir. 2000)). As explained in STNL Corp., if a

 9   right to payment exists upon the occurrence of a future contingency, a claim is allowable as a

10   prepetition claim under Section 502(b)(1) even if that contingency is satisfied postpetition. Id. at

11   538. Thus, “[i]f the creditor's services have been fully performed pre-petition and all that remains is

12   the payment of money”, the claim is a prepetition unsecured claim, not an administrative claim. In re

13   HSD Venture, 178 B.R. 831, 836 (Bankr.S.D.Cal. 1985).

14          From context, the commission agreement appears to have been entered by the Claimant and

15   PDMPI prepetition and the Claimant secured the customer(s) at or around that same time which

16   were the events necessary to occur for the Claimant to have the right to receive commission

17   payments. Those events occurred prepetition. A “claim” is defined in 11 U.S.C. § 101(5) and makes

18   clear that it arises when the claimant has a “right to payment”, regardless of whether that right may

19   be contingent, unliquidated or unmatured. The happenstance of the timing of when the commission

20   sum was calculable or became due cannot, and does not, transmute the Claims from prepetition

21   unsecured claims to becoming an allowable administrative expense. The Claims must be disallowed

22   as administrative expenses of these Debtors’ estates.

23          C.      The Commission Agreement Was Not An Assumable Executory Contract.

24          The prepetition commission agreement was not eligible for assumption and assignment

25   because it was not an executory contract. The performance necessary to entitle the Claimant to its

26   commissions had already occurred prepetition. The Ninth Circuit has defined the standard for

27   determining whether a contract is executory:

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 1          Although the Code does not define “executory contract,” courts have generally defined such

 2          a contract as one on which performance is due to some extent on both sides.... [I]n executory

 3          contracts the obligations of both parties are so far unperformed that the failure of either party

 4          to complete performance would constitute a material breach and thus excuse the performance

 5          of the other.

 6

 7          This means that when a party has “substantially performed” its side of the bargain, such that

 8          the party’s failure to perform further would not constitute a material breach excusing

 9          performance by the other party, a contract is not executory. Pacific Express, Inc. v.

10          Teknekron Infoswitch Corp. (In re Pacific Express, Inc.), 780 F.2d 1482, 1487–88 (9th Cir.

11          1986). The party who has fully performed is thus relegated to the position of a general

12          creditor of the bankrupt estate. Id. at 1130 (quoting Griffel v. Murphy (In re Wegner), 839

13          F.2d 533, 536 (9th Cir. 1987) (citation omitted) (emphasis added).

14          A commission agreement is performed when a buyer is procured and is not made executory

15   by a provision conditioning payment on closing the sale. Id.at 1131. Thus, any commission due

16   Claimant was already earned prepetition. The Claimant has provided no evidence that it was

17   required to provide material and necessary services post-petition before it was entitled to a

18   commission payment. The commission agreement was not an assumable executory contract and its

19   breach constitutes a prepetition unsecured claim.

20          D.      Even If The Commission Agreement Was An Assumable Executory Contract, It

21   Was Rejected.

22          Even if the commission agreement between the parties had been an assumable contract, it

23   was not an Assumed Contract. Rejection of an executory contract constitutes a breach of such

24   contract “immediately before the date of the filing of the petition.” 11 U.S.C. §365(g)(1). In turn, the

25   claim which arises from the rejection is a dischargeable prepetition claim against the estate. 11

26   U.S.C. § 502(g)(1). See also, NLRB v. Bildisco & Bildisco, 465 U.S. 513, 532 (1984) (A claim based

27   upon an executory contract which was not assumed “is not an enforceable contract” of the estate and

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 1   rejection is deemed a prepetition breach of contract; the counterparty is a creditor entitled to a

 2   prepetition claim for damages). The Claims must be disallowed in their respective entireties as

 3   administrative expenses.

 4   III.   RESERVATION OF RIGHTS.

 5          The Trustee has not attempted to raise in this Motion each defense, counterclaim, or setoff

 6   that may apply to the Claim. If a response to this Motion is received, the Trustee reserves the right

 7   to amend or supplement it, or file additional pleadings to assert any defenses, counterclaims, and/or

 8   setoffs against the Claim. In all instances, the Trustee reserves the right to file future pleadings to

 9   challenge the validity, amount, or status of the Claim upon different grounds than set forth herein or

10   otherwise.

11   IV.    CONCLUSION.
12          For the reasons set forth herein, the Trustee respectfully requests that the Court enter an

13   order: (a) granting the Motion; (b) disallowing each of the Claims as administrative expenses; and

14   (c) granting such other and further relief as may be appropriate under the circumstances.

15
     Dated: September 29, 2021                      LAW OFFICES OF BRADLEY E. BROOK, APC
16
                                               By: Bradley E. Brook __________________________
17
                                                   Bradley E. Brook, Esq.
18                                                 Special counsel for David K. Gottlieb, Chapter 7
                                                   Trustee of Penthouse Global Media, Inc. and its
19                                                 affiliated debtor entities
20
     Submitted by:
21   Linda F. Cantor (CA Bar No. 153762)
     PACHULSKI STANG ZIEHL & JONES LLP
22   10100 Santa Monica Blvd., 13th Floor
     Los Angeles, CA 90067
23   Telephone: 310/277-6910
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25
     By: /s/ Linda F. Cantor____________________
26      Linda F. Cantor
        Counsel for David K. Gottlieb, Chapter 7 Trustee
27      of Penthouse Global Media, Inc. and its debtor affiliates
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 1                               DECLARATION OF DAVID K. GOTTLIEB

 2           I, David K. Gottlieb, declare as follows:

 3           1.      I am the duly appointed chapter 7 trustee (the “Trustee”) of Penthouse Global Media,

 4   Inc. and its debtor subsidiaries. I make this Declaration in support of the Motion of Trustee For

 5   Order Disallowing Requests For Payment Of Administrative Claim No. 69-1 In The Sum Of

 6   $5,382.98 And Administrative Claim No. 70-1 In The Sum Of $5,810.98 Which Were Both Filed By

 7   Digital Media Consultants, LLC (the “Motion”). All capitalized terms used but not defined in this

 8   Declaration have the meanings ascribed to them in the Motion.

 9           2.      Except as otherwise stated, all facts contained within this Declaration are based upon

10   personal knowledge (albeit my own or that gathered from others under my supervision), my review

11   of the books and records of the Debtors, the Administrative Claims and other pleadings filed in this

12   case, or my opinion based on my experience as a consultant and financial advisor for trustees. If

13   called upon to testify, I would testify to the facts set forth in this Declaration.

14           3.      Attached hereto as Exhibit “1” is a true and correct copy of Claim No. 69.

15           4.      Attached hereto as Exhibit “2” is a true and correct copy of Claim No. 70.

16           5.      These cases are administratively insolvent and no distributions are anticipated to

17   holders of priority unsecured claims.

18           6.      I have reviewed the Claims with persons under my supervision. Neither of the Claims

19   included a copy of the underlying agreement(s) between the Claimant and PDMPI. However, from

20   the context of the invoices attached to the Claims and the Claimant’s descriptions of the Claims, it

21   appears that the parties entered into a prepetition commission agreement which entitled the Claimant

22   to commission payments based upon a revenue stream from a customer it secured for the Debtors.

23           7.      It appears that the commission agreement was not an executory contract. However,

24   even if it was executory, it was not an Assumed Contract. Any breach of the prepetition commission

25   agreement should constitute a prepetition unsecured claim, not an administrative expense.

26           8.      Based on my understandings, I respectfully request the entry of an order granting the

27   Motion and disallowing each of the Claims as an administrative claim against the Debtors’ estates.

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Case 1:18-bk-10098-MB   Doc 951 Filed 09/30/21 Entered 09/30/21 17:26:09   Desc
                        Main Document     Page 13 of 29
 Case 1:18-bk-10098-MB   Doc 951 Filed 09/30/21 Entered 09/30/21 17:26:09   Desc
                         Main Document     Page 14 of 29


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              UNITED STATES                                                                                     Adm inistrative Expense
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     THISFORMMAYBEUSEDBYCLAIMANTSASSERTINGANADMINISTIGTIVEEXPENSECLAIMARISINGAGAINSTON OFTHE F I E D
     BELOW DEBTORSFOR POSTPETITIONADMINISTM TIVE CLAIMSARISINGONORAFTERJANUARY 11,2018.

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    enthouseGlobalDigital,Inc.1:18bk-10102-M B;PenthouseGlobalPublishing,lnc.1:18-bk-10103-M B;
     M IOnlineVentures,Ltd.1:18bk-10104-M B;PenthouseDigitalMediaProductions,Inc.1:18-bk-10105-M B;
    anDoorM ediw Inc.1:18bk-10106-M .  B;PenthouseImagesAcquisitions,Ltd.1:18-bk-10107-M B;
    tlreEntertainmentTelecommunications,lnc.1:18bk-10108-MB;XVHUB Group,Inc.1:18-bk-10109-M8;
     eneralMediaCommunications,lnc.1:18bk-101IO-M B-  ,GeneralMediaEntertainment,lnc.1:18-bk-l0111-M8-
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  M onicaBlvd.,13th Floor,LosAngeles,California90067-4100,Attention:Linda F.Cantor
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                                 Calabasas,CA 91364 USA
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                                 AccountNo: 218619128


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                        Main Document     Page 20 of 29




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    anDoorM edia,Inc.1;18bk-10106-M8,   -PenthouselmagesAcquisitions,Ltd.1;18-bk-10107-MB;
    ureEntertainmentTelecommunications,lnc.l:l8bk-10108-MB;XVHUB Group,lnc.1-    .18-bk-10109-M B;
     eneralMediaCommunications,Inc.1:18bk-101IO-M B, -GeneralMediaEntertainment,lnc.1:18-bk-10111-M8,
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  CentralDistrictofCaliforniaonthemaincasedocket(nottheclaimsdocket)on orbeforetheChapterllAdministrative
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  11Adm inistrative BarDate,to:UNITED STATES BANKRUPTCY CO URT CLERK OF THE COURT 21041
  BURBANK BLVD.W OODLAND HILLS,CA 91367w/acopytoPachulskiStangZiehl& JonesLLP,10100Santa
  M onicaBlvd.,13th Floor,LosAngeles,California 90067-4100,Attention:LindaF.Cantor
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                         10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION OF TRUSTEE FOR
ORDER DISALLOWING REQUESTS FOR PAYMENT OF ADMINISTRATIVE CLAIM NO. 69-1 IN THE SUM OF
$5,382.98 AND ADMINISTRATIVE CLAIM NO. 70-1 IN THE SUM OF $5,810.98 WHICH WERE BOTH FILED BY
DIGITAL MEDIA CONSULTANTS, LLC; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF
DAVID K. GOTTLIEB IN SUPPORT THEREOF will be served or was served (a) on the Judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On September 30, 2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on September 30, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

        Via Federal Express
        Honorable Martin R. Barash
        United States Bankruptcy Court
        Central District of California
        21041 Burbank Boulevard, Suite 342 / Courtroom 303
        Woodland Hills, CA 91367



                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 30, 2021                     Nancy H. Brown                                        /s/ Nancy H. Brown
 Date                                    Printed Name                                         Signature




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    1. 1:18-bk-10098-MB Notice will be electronically mailed to:

    Ron Bender on behalf of Interested Party Courtesy NEF                            calendar@greenbergglusker.com;jking@greenberggluske
    rb@lnbyb.com                                                                     r.com

    Stephen F Biegenzahn on behalf of Creditor Eli B.                                James A Dumas, Jr on behalf of Creditor NOA
    Dubrow                                                                           Productions SPRL
    efile@sfblaw.com                                                                 jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com

    Paul M Brent on behalf of Interested Party WGCZ Ltd.,                            James A Dumas, Jr on behalf of Creditor Penthouse
    S.R.O.                                                                           Global Broadcasting, Inc.
    snb300@aol.com                                                                   jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com

    Bradley E Brook on behalf of Plaintiff DAVID K                                   Jeffrey K Garfinkle on behalf of Creditor Easy Online
    GOTTLIEB                                                                         Solutions, Ltd. d/b/a MojoHost
    bbrook@bbrooklaw.com,                                                            jgarfinkle@buchalter.com,
    paulo@bbrooklaw.com;brookecfmail@gmail.com                                       docket@buchalter.com;dcyrankowski@buchalter.com

    Bradley E Brook on behalf of Plaintiff DAVID K                                   Allan B Gelbard on behalf of Other Professional Allan B.
    GOTTLIEB                                                                         Gelbard
    bbrook@bbrooklaw.com,                                                            xxxesq@aol.com, Allan@GelbardLaw.com
    paulo@bbrooklaw.com;brookecfmail@gmail.com
                                                                                     David Keith Gottlieb (TR)
    Bradley E Brook on behalf of Trustee David Keith                                 dkgtrustee@dkgallc.com,
    Gottlieb (TR)                                                                    dgottlieb@iq7technology.com,rjohnson@dkgallc.com,ak
    bbrook@bbrooklaw.com,                                                            uras@dkgallc.com;ecf.alert+Gottlieb@titlexi.com
    paulo@bbrooklaw.com;brookecfmail@gmail.com
                                                                                     Mirco J Haag on behalf of Creditor Easy Online
    Linda F Cantor, ESQ on behalf of Debtor Penthouse                                Solutions, Ltd. d/b/a MojoHost
    Global Media, Inc.                                                               mhaag@buchalter.com,
    lcantor@pszjlaw.com, lcantor@pszjlaw.com                                         dcyrankowski@buchalter.com;docket@buchalter.com

    Linda F Cantor, ESQ on behalf of Trustee David Keith                             Mark S Horoupian on behalf of Interested Party Courtesy
    Gottlieb (TR)                                                                    NEF
    lcantor@pszjlaw.com, lcantor@pszjlaw.com                                         mhoroupian@sulmeyerlaw.com,
                                                                                     mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerla
    Carol Chow on behalf of Interested Party Jerrick Media                           w.com
    Holdings, Inc.
    carol.chow@ffslaw.com, easter.santamaria@ffslaw.com                              Mark S Horoupian on behalf of Interested Party WSM
                                                                                     Investment, LLC dba TOPCO Sales
    Carol Chow on behalf of Interested Party Jerrick Ventures                        mhoroupian@sulmeyerlaw.com,
    LLC                                                                              mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerla
    carol.chow@ffslaw.com, easter.santamaria@ffslaw.com                              w.com

    Russell Clementson on behalf of U.S. Trustee United                              Razmig Izakelian on behalf of Interested Party WGCZ
    States Trustee (SV)                                                              Ltd., S.R.O.
    russell.clementson@usdoj.gov                                                     razmigizakelian@quinnemanuel.com

    Joseph Corrigan on behalf of Creditor Iron Mountain                              John P Kreis on behalf of Creditor Claxson Media LLC
    Information Management, LLC                                                      jkreis@kreislaw.com, j.kreis@ca.rr.com
    Bankruptcy2@ironmountain.com
                                                                                     Michael D Kwasigroch on behalf of Defendant Revideo,
    Brian L Davidoff on behalf of Interested Party Silver Reel                       Inc.
    Entertainment Mezzanine Fund, L.P.                                               attorneyforlife@aol.com
    bdavidoff@greenbergglusker.com,
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    Michael D Kwasigroch on behalf of Defendant Kelly                                Michael St James on behalf of Interested Party Michael
    Holland                                                                          St. James
    attorneyforlife@aol.com                                                          ecf@stjames-law.com,
                                                                                     stjames.michaelr101488@notify.bestcase.com
    Michael D Kwasigroch on behalf of Defendant Robert
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                                                                                     steinbergh@gtlaw.com,
    Andrew B Levin on behalf of Interested Party Kirkendoll                          pearsallt@gtlaw.com;laik@gtlaw.com
    Management LLC
    alevin@wcghlaw.com,                                                              Cathy Ta on behalf of Creditor Penthouse Clubs
    Meir@virtualparalegalservices.com;pj@wcghlaw.com;jm                              Worldwide, LLC
    artinez@wcghlaw.com                                                              cathyta@cathyta.net

    Peter W Lianides on behalf of Interested Party Kirkendoll                        United States Trustee (SV)
    Management LLC                                                                   ustpregion16.wh.ecf@usdoj.gov
    plianides@wghlawyers.com,
    jmartinez@wghlawyers.com;mweinberg@wghlawyers.co                                 Michael H Weiss mhw@mhw-pc.com,
    m
                                                                                     Michael H Weiss on behalf of Debtor Danni Ashe, Inc.
    David W. Meadows on behalf of Interested Party                                   mhw@mhw-pc.com
    Courtesy NEF
    david@davidwmeadowslaw.com                                                       Michael H Weiss on behalf of Debtor GMI Online
                                                                                     Ventures, Ltd.
    Krikor J Meshefejian on behalf of Creditor Interested                            mhw@mhw-pc.com
    Party
    kjm@lnbyb.com                                                                    Michael H Weiss on behalf of Debtor General Media
                                                                                     Communications, Inc.
                                                                                     mhw@mhw-pc.com
    Alan I Nahmias on behalf of Interested Party Courtesy
    NEF                                                                              Michael H Weiss on behalf of Debtor General Media
    anahmias@mbnlawyers.com, jdale@mbnlawyers.com                                    Entertainment, Inc.
                                                                                     mhw@mhw-pc.com
    Iain A W Nasatir on behalf of Interested Party Courtesy
    NEF                                                                              Michael H Weiss on behalf of Debtor Penthouse Digital
    inasatir@pszjlaw.com, jwashington@pszjlaw.com                                    Media Productions, Inc.
                                                                                     mhw@mhw-pc.com
    Iain A W Nasatir on behalf of Trustee David Keith
    Gottlieb (TR)                                                                    Michael H Weiss on behalf of Debtor Penthouse Global
    inasatir@pszjlaw.com, jwashington@pszjlaw.com                                    Broadcasting, Inc.
                                                                                     mhw@mhw-pc.com
    Hamid R Rafatjoo on behalf of Creditor Committee The
    Official Committee of Unsecured Creditors                                        Michael H Weiss on behalf of Debtor Penthouse Global
    hrafatjoo@raineslaw.com, bclark@raineslaw.com                                    Digital, Inc.
                                                                                     mhw@mhw-pc.com
    S. Marguax Ross on behalf of U.S. Trustee United States
    Trustee (SV)                                                                     Michael H Weiss on behalf of Debtor Penthouse Global
    margaux.ross@usdoj.gov, Kate.Bunker@UST.DOJ.GOV                                  Licensing, Inc.
                                                                                     mhw@mhw-pc.com
    Michael St James on behalf of Creditor Interested Party
    ecf@stjames-law.com,                                                             Michael H Weiss on behalf of Debtor Penthouse Global
    stjames.michaelr101488@notify.bestcase.com                                       Media, Inc.
                                                                                     mhw@mhw-pc.com

                                                                                     Michael H Weiss on behalf of Debtor Penthouse Global
                                                                                     Publishing, Inc.
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    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor Penthouse Images
    Acquisitions, Ltd.
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    Michael H Weiss on behalf of Debtor Pure Entertainment
    Telecommunications, Inc. fka For Your Ears Only, Ltd.
    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor Streamray Studios,
    Inc.
    mhw@mhw-pc.com


    Michael H Weiss on behalf of Debtor Tan Door Media,
    Inc.
    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor XVHUB Group,
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    Marc J Winthrop on behalf of Interested Party Kirkendoll
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    Christopher K.S. Wong on behalf of Creditor LSC
    Communications US, LLC / Creel Printing
    christopher.wong@arentfox.com,
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    Beth Ann R Young on behalf of Creditor Dream Media
    Corporation
    bry@lnbyb.com

    Beth Ann R Young on behalf of Creditor Interested Party
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    2.   SERVED BY UNITED STATES MAIL:

         Claimant

         Digital Media Consultants, LLC
         Attention: David Kravis
         21781 Ventura Blvd., Suite 644
         Woodland Hills, CA 91364


         Debtor
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         8944 Mason Ave.
         Chatsworth, CA 91311

         Counsel for Debtor
         Michael H. Weiss, Esq., P.C.
         8581 Santa Monica Boulevard, #4
         West Hollywood, CA 90069

         Trustee
         David K. Gottlieb
         Managing Member
         D. Gottlieb & Associates, LLC
         16255 Ventura Blvd., Suite 440
         Encino, California, 91436

         Office of U.S. Trustee
         Kate Bunker
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         Suite 1850
         Los Angeles, CA 90017




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